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                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                      SAN FRANCISCO DIVISION

    HUAWEI TECHNOLOGIES CO., LTD., et al.,          CASE NO. 16-cv-02787-WHO

                          Plaintiffs,               SAMSUNG’S OPPOSITION TO
                                                 HUAWEI’S MOTION AND FRCP
            v.                                      59(e) MOTION TO ALTER OR
                                                 AMEND THE COURT’S APRIL 13,
    SAMSUNG ELECTRONICS CO., LTD., et al.,          2018 ORDER GRANTING
                                                 SAMSUNG’S MOTION FOR
                          Defendants.               ANTISUIT INJUNCTION, OR, IN
                                                 THE ALTERNATIVE, L.R. 7-9
                                                    MOTION FOR LEAVE TO FILE
 SAMSUNG ELECTRONICS CO., LTD. &                 SAME
    SAMSUNG ELECTRONICS AMERICA, INC.
                                                 Hearing Date: June 6, 2018
                          Counterclaim-Plaintiffs,  Time: 2:00 p.m.
                                                 Place: Courtroom 2, 17th Floor
            v.                                      Judge: Hon. William H. Orrick

    HUAWEI TECHNOLOGIES CO., LTD.,
 HUAWEI DEVICE USA, INC., HUAWEI
    TECHNOLOGIES USA, INC., & HISILICON
 TECHNOLOGIES CO., LTD.
                   Counterclaim-Defendants.



                                                                Case No. 16-cv-02787-WHO
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 1 I.        INTRODUCTION
 2           Huawei’s motion for reconsideration should be denied because its alleged “manifest factual

 3 error” is, itself, factually incorrect. The facts show definitely that Huawei put its FRAND conduct

 4 at issue when it filed its initial Complaint. Huawei identifies a single allegedly “manifest factual

 5 error”: That the court failed to consider that the only “overlap” between this action and the Shenzhen

 6 injunction actions arose after Samsung filed its breach of contract counterclaims (the “counterclaim

 7 timing” argument). But the premise of this alleged “failure to consider” is itself in error. It cannot

 8 be disputed that it was Huawei’s own cause of action for breach of contract (Count I) in its May

 9 2016 Complaint that first put Huawei’s FRAND behavior at issue.

10           For Huawei to prevail on its breach of contract claim, Huawei must prove that it satisfied all

11 conditions precedent. Here, as pleaded, condition precedents of Huawei's breach of contract claim

12 include proof that Huawei itself was willing to license Samsung to its SEPs on FRAND terms and

13 conditions and that it negotiated in good faith in an attempt to reach agreement on a FRAND cross

14 license for those SEPs. ETSI’s IPR policy expressly provides that a party’s FRAND undertaking

15 “may be made subject to the condition that those who seek licenses agree to reciprocate.” Ex. 1

16 (ETSI IPR Policy).1 As a matter of course, Samsung invokes this reciprocity condition in its ETSI

17 FRAND undertakings—as exemplified in the Samsung IPR declaration that Huawei filed as an

18 attachment to its Complaint. See, e.g., Dkt. 1 (“Compl.”) Ex. 3.11 at 1 (“This undertaking is made
19 subject to the condition that those who seek licenses agree to reciprocate the same in respect of the

20 STANDARD in accordance with Clause 6.1 of the ETSI IPR Policy.”).

21           Huawei knows this too. That is why Huawei’s breach of FRAND claim pleads detailed

22 allegations that:

23                 “Huawei has at all times been willing (and obliged under its own declarations to
24                  ETSI) to reciprocate, i.e., to grant to Defendants a license to Huawei’s UMTS and

25                  LTE SEP portfolio on FRAND terms and conditions.” Compl. ¶ 56; and

26
27       “Ex.” Refers to exhibits to the Declaration of Sam Stake in opposition to Huawei’s FRCP
         1

   59(e) Motion To Alter or Amend the Court’s April 13, 2018 Order Granting Samsung’s Motion
28 for Antisuit Injunction, or, in the alternative, L.R. 7-9 Motion for Leave to File Same.

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 1                 “For its part, Huawei . . . has negotiated in good faith with Samsung and has
 2                  attempted to reach agreement on FRAND terms and conditions for a cross-license.

 3                  Huawei has made an offer for a cross-license on FRAND terms and conditions. . . .”

 4                  Compl. ¶58.

 5          A determination that Huawei failed itself to comply with its FRAND obligations will be

 6 dispositive of Huawei's breach of contract cause of action. It will also be dispositive of Huawei’s

 7 ability to seek injunctive relief against Samsung on its SEPs in China. Because the alleged “manifest

 8 factual error” that the Court allegedly did not consider—the counterclaim timing argument—is itself

 9 factually incorrect, Huawei’s motion should be denied.

10          Huawei’s reconsideration motion should also be denied because Huawei could have—but

11 did not—assert its counterclaim timing argument before the Court issued its Order.                 The

12 reconsideration rules under both Rule 59(e) and L.R. 7-9(b)(3) prohibit attempts to inject new

13 arguments or legal theories that reasonably could have been raised earlier. Not once in its opposition

14 to the underlying motion or at the hearing regarding the antisuit injunction did Huawei make its new

15 counterclaim timing argument, or argue that the Court’s Gallo analysis turned on a three-month gap.

16 Because Huawei could have but failed to raise this argument, Huawei is now barred from offering

17 it as a basis for reconsideration.

18          More fundamentally, Huawei’s motion should be denied because nothing in it calls into
19 question the Court’s analysis of the three Gallo factors, which formed the basis for the Court’s

20 Order. Huawei’s counterclaim timing argument does not affect the Court’s conclusion that there is

21 an identity of issues and parties between this action and the Chinese litigations. Dkt. 281 (Order

22 Granting Samsung’s Motion for Antisuit Injunction (“Order”)) at 10-15. Nor does it conflict with

23 the Court’s analysis under the Unterweser factors.           Regardless of when Samsung filed its

24 counterclaims, Huawei is improperly using injunctive relief as a “bargaining chip” and the Shenzhen

25 Orders threaten to compromise the ability of the Court to “reach a just result” and inhibit this Court’s

26 “ability to determine the proprietary of injunctive relief.” Order at 17. Likewise, the counterclaim
27 timing argument is irrelevant to the Court’s conclusion that numerous factors minimize the Order’s

28 impact on comity. The timing of the counterclaims is not relevant to the fact that Huawei and

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 1 Samsung are engaged in a private contractual dispute unlikely to raise international issues, that the

 2 injunction only restrains Huawei, not the Shenzhen Court, and that the scope of the antisuit

 3 injunction is limited because this action will likely proceed to trial in six months. Order at 19-20.

 4          As for Huawei’s argument that the Court committed a manifest legal error, that too fails.

 5 Huawei made the exact same argument in its briefing, and the Court already considered and rejected

 6 it. Huawei’s reconsideration motion simply parrots the legal argument it previously made in its

 7 opposition brief, namely that “Samsung must also establish the other, traditional elements of a

 8 preliminary injunction.”      Dkt. 240-3 (Huawei’s Br. in Opp. to Samsung’s Mot. for Antisuit

 9 Injunction (“Antisuit Opp Br.”)) at 13. Samsung explained in its reply brief why this is not so,

10 pointing to the Ninth Circuit’s analysis in Microsoft confirming that the three-part Gallo test is the

11 exclusive test for assessing the propriety of an antisuit injunction. Dkt. 244-2 (Samsung’s Reply

12 Br. in Supp. of Samsung’s Mot. for Antisuit Injunction) at 4. The Court properly reached the same

13 conclusion. Indeed, at the outset of the hearing on Samsung’s motion, the Court indicated that it

14 was inclined to reject this very argument, stating “[i]t does seem to me that the Gallo test applies,”

15 and after outlining its application of the three-part test, stated it was “inclined to” grant the Motion.

16 Dkt. 254 (Transcript of March 14, 2018 Hearing) (“Antisuit Tr.”) at 3-4. Nowhere in its argument

17 at the hearing did counsel for Huawei challenge or even address the Court’s tentative rejection of

18 its argument that Samsung must prove the “traditional” elements of a preliminary injunction.
19 Having foregone an opportunity to challenge the Court’s reasoning at oral argument, Huawei cannot

20 be heard now to seek reconsideration of that very argument.

21          Because Huawei has failed to meet the demanding standards for reconsideration required by

22 Rule 59(e) and L.R. 7-9(b)(3), its motion should be rejected.

23 II.      APPLICABLE LAW
24          Huawei cites Federal Rule 59(e) (“Altering or Amending a Judgment”) and Local Rule 7-

25 9(b)(3) (“Motion for Reconsideration”) as alternate grounds for relief. Federal Rule 59(e) limits

26 relief, in pertinent part, to “manifest errors of law or fact upon which the judgment rests.” Allstate
27 Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011). The rule offers an “extraordinary remedy,

28 to be used sparingly in the interests of finality and conservation of judicial resources.” Carroll v.

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 1 Nakatani, 342 F.3d 934, 945 (9th Cir. 2003) (internal citations and quotations omitted). Local Rule

 2 7-9(b)(3) similarly requires a movant seeking leave for reconsideration to demonstrate a “manifest

 3 failure by the Court to consider material facts or dispositive legal arguments which were presented

 4 to the Court before such interlocutory order.” Both rules require Huawei to identify factual errors

 5 that, if corrected, would alter the outcome of the judgment or interlocutory order in question. See

 6 Allstate Ins. Co., 634 F.3d at 1111 (manifest error of fact must be one “upon which the judgment

 7 rests”); L.R. 7-9(b)(3) (the Court must have failed to consider “material” facts).

 8          When presenting purported factual errors, Huawei is barred under both Rule 59(e) and L.R.

 9 7-9 from presenting new arguments against the antisuit order that it could reasonably have raised

10 before. See Interior Glass Sys., Inc. v. United States, Case No. 13-cv-5563, 2017 WL 1153012, at

11 *3 (N.D. Cal. Mar. 28, 2017) (“A Rule 59(e) motion may not be used to raise arguments or present

12 evidence for the first time when they could reasonably have been raised earlier in the litigation”)

13 (citing Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000)); Rishor v.

14 Ferguson, 822 F.3d 482, 492 (9th Cir. 2016) (“We have also held that a Rule 59(e) motion may not

15 be used to ‘raise arguments or present evidence for the first time when they could reasonably have

16 been raised earlier in the litigation’”); see Lenk v. Monolithic Power Sys., Inc., Case No. 16-cv-

17 02625, 2018 WL 1000632, at *1 (N.D. Cal. Feb. 21, 2018) (explaining that “new arguments do not

18 justify a reconsideration of issues presented to the Court” under L.R. 7-9); L.R. 7-9(b)(3) (“A
19 manifest failure by the Court to consider material facts or dispositive legal arguments which were

20 presented to the Court before such interlocutory order,”) (emphasis added).

21 III.     HUAWEI’S MOTION SHOULD BE DENIED BECAUSE ITS PURPORTED
            “FACTUAL ERROR”—THAT ITS FRAND CONDUCT WAS NOT AT ISSUE
22          UNTIL SAMSUNG FILED ITS COUNTERCLAIMS—IS INCORRECT
23          It cannot be disputed that it was Huawei’s own cause of action for breach of contract, filed

24 on May 24, 2016, that first raised the dispositive issue of Huawei's FRAND conduct. Compl. ¶¶

25 53-60. A condition precedent of Huawei's breach of contract claim is proof that Huawei itself was

26 a willing licensee and did not itself violate FRAND. ETSI’s IP policy expressly provides that a
27 party’s FRAND undertaking “may be made subject to the condition that those who seek licences

28 agree to reciprocate” Ex. 1. Samsung invokes this reciprocity condition in its ETSI FRAND

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 1 undertakings as a matter of course—including in the Samsung IPR declaration that Huawei filed as

 2 an attachment to its Complaint. See, e.g., Compl. Ex. 3.11 at 1 (“This undertaking is made subject

 3 to the condition that those who seek licences agree to reciprocate the same in respect of the

 4 STANDARD in accordance with Clause 6.1 of the ETSI IPR Policy.”); Compl. Ex. 3.12 at 1 (“This

 5 irrevocable undertaking is made subject to the condition that those who seek licenses agree to

 6 reciprocate.”); Compl. Ex. 3.13-3.53 at 1 (same). This means that in order for Huawei to prevail on

 7 its breach of contract claim, Compl. ¶¶ 53-60, Huawei must prove it has been a willing licensor of

 8 its own patents to Samsung and has complied with its own FRAND obligations including the duty

 9 to negotiate in good faith.2 See, e.g., Ex. 2 (Final Jury Instructions, Apple v. Samsung 11-CV-01846-

10 LHK (N.D. Cal.)). Indeed, in its initial Complaint, Huawei specifically avers that it satisfied this

11 condition. In the averments under its Cause of Action I for breach of contract, Huawei devoted

12 several full paragraphs to arguing it satisfied its own FRAND obligations. Compl. ¶ 56 (“Huawei

13 has at all times been willing (and obliged under its own declarations to ETSI) to reciprocate, i.e., to

14 grant to Defendants a license to Huawei’s UMTS and LTE SEP portfolio on FRAND terms and

15 conditions.”); ¶ 58 (“For its part, Huawei, on behalf of itself and its affiliates, including Huawei

16 Device and Huawei Tech. USA, has negotiated in good faith with Samsung and attempted to reach

17 agreement on FRAND terms and conditions for a cross-license.”) (emphasis added).                 Thus,

18 Huawei’s central argument that the Court made a manifest error by failing to consider that the
19 “overlap” between this case and Shenzhen injunction actions only occurred upon the filing of

20 Samsung’s counterclaims is fully without merit. Huawei’s own conduct has been at issue since May

21 24, 2016, when it filed its initial Complaint.

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24      2
            Both parties agree that French law governs the breach of contract claims. Compl. ¶ 30; Dkt.
     91 (Samsung’s Answer and A. Countercls) ¶¶ 537-546 (citing the ETSI IPR Policy). Huawei’s
25
     demonstration of its own compliance with FRAND principles as part of its breach of contract
26   claim is at least analogous to the requirement to satisfy all conditions precedent under United
     States contract law. See, e.g., MDY Indus., LLC v. Blizzard Ent., Inc., 629 F.3d 928, 939 (9th Cir.
27   At 2010) (“A condition precedent is an act or event that must occur before a duty to perform a
     promise arises.”) (citing AES P.R., L.P. v. Alstom Power, Inc., 429 F.Supp.2d 713, 717 (D. Del.
28   2006) and Restatement [Second] of Contracts § 224 (non-occurrence of condition)).

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 1          Huawei points to no factual error in the Court’s Order. The only portion of the Order Huawei

 2 cites in support of its claim of “manifest factual error” is the following:

 3          The appropriate remedy for Huawei’s breach of contract claim may very well be the
            injunctive relief issued by the Shenzhen court. But I must have the opportunity to
 4          adjudicate that claim without Samsung facing the threat of the Shenzhen court
            injunctions.
 5
     Mot. at 3 (citing Order at 15) (emphasis in Huawei’s motion). First, these two sentences cannot
 6
     constitute “manifest factual error” because they are not factual findings. Rather, the first
 7
     constitutes speculation by the Court as to what “[t]he appropriate remedy” “may very well be,”
 8
     and the second constitutes an expression of the Court’s desire, or need, to “adjudicate” Huawei’s
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     claims “without Samsung facing the threat of the Shenzhen court injunctions.” Order at 15.
10
            Second, these two sentences are not taken from the Court’s analysis of whether this case
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     would be dispositive of the Shenzhen injunction request, but rather from a paragraph in which the
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     Court addresses equitable estoppel. The Court correctly rested its identity of issues/dispositive
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     findings on its observations, earlier in the Order, that each party asserts a “breach of contract claim
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     based on the other’s alleged failure to abide by its commitments to ETSI,” that “the availability of
15
     injunctive relief for each party’s SEPs depends on the breach of contract claims,” and that, as in
16
     Microsoft, “[t]he contractual umbrella over the patent claims controls.” Order at 13 (emphasis
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     added). Rather than addressing the identity of issues factor, the passage quoted by Huawei relates
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     to the Court’s conclusion—repeated throughout its Order—that the Shenzhen orders threaten to
19
     deprive the Court of the “opportunity to adjudicate” this suit at all. Order at 1 (“[The injunction]
20
     orders could render meaningless the proceedings here.”), 17 (“The Chinese injunctions would likely
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     force it to accept Huawei’s licensing terms, before any court has an opportunity to adjudicate the
22
     parties’ breach of contract claims.”).
23
            Third, the Court’s statements are correct for the same reason that Huawei’s counterclaim
24
     timing argument is not well taken. Again, Huawei’s breach of contract claim will requires a finding
25
     that Huawei itself complied with FRAND as a condition precedent. Without that finding, injunctive
26
     relief is not an available remedy under its worldwide ETSI undertakings. On the flip side, should
27

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 1 Huawei establish it did satisfy its FRAND obligations, then, as the Court notes, injunctive relief in

 2 Shenzhen may be an appropriate remedy.3

 3 IV.       HUAWEI’S MOTION SHOULD BE DENIED BECAUSE HUAWEI COULD
             HAVE, BUT FAILED TO, RAISE ITS NEW COUNTERCLAIM TIMING
 4           ARGUMENT PRIOR TO THE COURT’S ORDER GRANTING INJUNCTIVE
             RELIEF
 5
             Huawei’s counterclaim timing argument should also be rejected because Huawei improperly
 6
     waited until now to raise it for the first time. In determining Rule 59(e) motions and motions for
 7
     leave pursuant to Civ. L. R. 7-9(b), courts consistently reject parties’ attempts to inject new
 8
     arguments or legal theories that they reasonably could have raised earlier. See, e.g., Kona Enters,
 9
     229 F.3d at 890; Caroll, 342 F.3d 934 at 945; Lenk, 2018 WL 1000632, at *1; Interior Glass Sys.,
10
     Inc., 2017 WL 1153012, at *3 (N.D. Cal. Mar. 28, 2017); Garcia v. City of Napa, Case No. 13-cv-
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     3886, 2014 WL 342085, at *1 (N.D. Cal. Jan. 28, 2014). Huawei made no attempt either in its
12
     opposition to Samsung’s antisuit motion or at the hearing on the motion to argue that the timing of
13
     Samsung’s counterclaims warranted denying the motion. Antisuit Opp Br., passim; Antisuit Tr.,
14
     passim. Nor does Huawei in its current reconsideration motion identify any reasonable excuse for
15
     omitting this argument from its brief or at the hearing. Mot., passim.4 Accordingly, the Court should
16
     thus deny Huawei’s request that the Court reconsider Huawei’s newly presented factual arguments.
17

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19       3
             Huawei’s suggestion that it would limit its rate setting cause of action to the US is a red
     herring. For one, the Court’s analysis of the Gallo factors concerned the parties’ breach of
20   contract claims—not Huawei’s separate rate setting claim. The Court addressed issues concerning
     the rate setting claim in the context of considering estoppel. Order at 13-15. Huawei has not
21
     sought to alter the scope or description of its breach of contract claim and admitted in its latest
22   correspondence that the breach of FRAND claims still turn on whether Samsung failed “to offer or
     grant a license worldwide on FRAND terms and conditions.” Dkt. 285-3 (Ex. B - Letter from
23   David Giardina to Thomas Pease) (emphasis added). Although Huawei did purport to inform
     Samsung by letter, sent just days before expert reports were due, that it had unilaterally decided to
24   treat the worldwide rate setting claim that had been in the case for nearly two years as a US rate
     setting claim, Samsung has questioned that decision and is evaluating its options. Mot. at 4 (citing
25
     Giardina Letter); see also Ex. 3 (April 17, 2018 correspondence from Thomas Pease to David
26   Giardina).
         4
             Samsung objects should Huawei provide a purported explanation for the first time in its
27   reply papers. Because the law clearly requires a party seeking reconsideration to explain why new
     arguments could not have reasonably been made earlier, it was incumbent upon Huawei to provide
28

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 1 V.       HUAWEI’S MOTION SHOULD BE DENIED BECAUSE THE TIMING OF
            SAMSUNG’S COUNTERCLAIMS IS IMMATERIAL TO THE COURT’S GALLO
 2          ANALYSIS
 3          Even if Huawei had timely identified a factual error by the Court, the timing of Samsung’s

 4 counterclaims is not one “upon which the judgment rests,” and thus Huawei’s motion should be

 5 denied. See, e.g., Thompson v. JPMorgan Chase Bank, N.A., Case No. 16-cv-06134, 2017 WL

 6 3059390, at *2 (N.D. Cal. July 19, 2017) (rejecting Motion for Reconsideration when the movant

 7 did not show how cited evidence would alter “any aspect of the Court’s order”). As set forth below,

 8 the Court’s three-part Gallo analysis stands irrespective of the timing of Samsung’s counterclaims.

 9          A.      Huawei Fails To Identify Any Impact On the Court’s “Identity of Issues”
                    Analysis
10
            The timing of Samsung’s counterclaims is irrelevant to the issue of whether the “parties and
11
     the issues are the same.” Order at 9. Both sides agreed the parties are the same. Order at 10. The
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     Court further observed in its Order the issues are the same because “[b]oth parties have presented
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     me with a breach of contract claim based on the other’s alleged failure to abide by its commitments
14
     to ETSI,” and “the availability of injunctive relief for each party’s SEPs depends on the breach of
15
     contract claims.” Order at 13. As in Microsoft—binding Ninth Circuit precedent—the Court
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     concluded the parties’ global breach of FRAND claims created a “contractual umbrella” over all
17
     patent claims, including the Chinese patents at issues in the injunction orders. Order at 13. None
18
     of these rationales—which are the basis for the Court’s conclusion that there is an identity of
19
     issues—turn on the timing of Samsung’s counterclaims.
20
            B.      Huawei Fails To Identify Any Impact On the Court’s Unterweser Analysis
21
            The alleged “manifest factual error” in timing raised by Huawei is also immaterial to the
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     Order’s Unterweser analysis. As recognized by the Ninth Circuit, an antisuit injunction order is
23
     appropriate when at least one of the Unterweser factors applies. Microsoft Corp. v. Motorola, Inc.,
24
     696 F.3d 872, 881 (9th Cir. 2012). Huawei cannot demonstrate that the timing of Samsung’s
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   any such explanation in its opening papers. Having failed to do so, Huawei should not be
28 permitted proffer an excuse for the first time on reply.

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 1 counterclaims upsets the Court’s analysis of any (let alone all) of the Unterweser factors found to

 2 support the antisuit injunction.

 3            The Court’s Unterweser analysis concluded that “domestic policy” and “other equitable

 4 considerations” supports the antisuit injunction. Order at 16. The Order noted that the “bulk of

 5 precedent” supported Samsung’s policy concerns about patent hold-up and the threat that Huawei

 6 would use its SEPs as a “bargaining chip.” Order at 16-17. The Order further explained that the

 7 Shenzhen injunction orders threaten “the court’s ability to reach a just result in the case before it

 8 free of external pressure on [Samsung] to enter into a holdup settlement before the litigation is

 9 complete.” Order at 17. Thus, according to the Court, an antisuit injunction preserves the “integrity

10 of this action,” Order at 17, and ensures the Shenzhen order will not “render meaningless the

11 proceedings here.” Order at 1.

12            These policy goals and equitable considerations forcefully apply regardless of when

13 Samsung filed its counterclaims. Regardless of when Samsung filed its counterclaims, Huawei is

14 improperly using injunctive relief as a “bargaining chip,” and the Shenzhen Orders threaten to

15 compromise the ability of the Court to “reach a just result” and inhibit this Court’s “ability to

16 determine the proprietary of injunctive relief.” Order at 17-18. Huawei has therefore failed to

17 identify any factual error warranting reconsideration of the Unterweser factors.

18            Huawei’s only legal support for the proposition that Huawei’s novel timing argument may
19 be relevant to the Court’s Unterweser analysis is dicta from Laker Airways—a 1984 out-of-circuit

20 case where the court granted an antisuit injunction. That case does not support the proposition that

21 U.S. courts should defer to earlier filed foreign actions, as argued by Huawei. Mot. at 5. It instead

22 states that parallel proceedings “should ordinarily be allowed to proceed simultaneously, at least

23 until a judgment is reached in one which can be pled as res judicata in the other.” Laker Airways

24 Ltd. v. Sabena, Belgian World Airlines, 731 F.2d 909, 926-27 (D.C. Cir. 1984). Huawei is therefore

25 mistaken that the timing of Samsung’s counterclaims disturbs the Court’s analysis of the Unterweser

26 factors.
27

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 1          C.      Huawei Fails To Identify Any Impact On the Court’s Comity Analysis
 2          Huawei ignores the Court’s detailed analysis of numerous factors independent of timing that

 3 support its conclusion that the impact on comity is tolerable. First, the Order explained that “comity

 4 is less likely to be threatened in the context of a private contractual dispute than in a dispute

 5 implicating public international law or government litigants.” Order at 19-20 (citing Microsoft).

 6 Moreover, the injunction is only against Huawei, not the Shenzhen Court. The Shenzhen action

 7 may continue to proceed in parallel, and Huawei may still litigate its damages claims in Shenzhen.

 8 Id. The injunction also has a limited temporal scope, lasting less than six months, Order at 20, and

 9 the antisuit injunction is limited to two patents and a specific form of relief. Id. Ultimately, the

10 impact on comity is “negligible” here. Id. Huawei’s counterclaim timing argument is irrelevant to

11 all of these factors.

12          While Huawei correctly identifies that the order in which the domestic and foreign suits were

13 filed may be “relevant” to the comity inquiry—see Microsoft 696 F.3d at 887—Huawei fails to

14 explain why the order of suits is sometimes relevant. Specifically, the timing of filing is relevant to

15 the comity analysis when a defendant files a later action in a foreign court. If the foreign action

16 were filed later than the domestic action that might indicate the defendant is “attempting to evade

17 the rightful authority of the district court.” Id. at 887 (citing Applied Med. Distribution Corp. v.

18 Surgical Co. BV, 587 F.3d 909, 921 (9th Cir. 2009). In such circumstances the impact of an
19 injunction on comity is lessened. Id.

20          Huawei’s citation to this order-of-suits consideration is misplaced. Huawei declares without

21 analysis that, because Samsung’s counterclaims were filed after the Chinese actions, “the impact on

22 comity is especially grave” and that this “weighs heavily against an anti-suit injunction.” Mot. at 5.

23 But Huawei completely ignores the fact that Huawei itself filed the present lawsuit here in this

24 Court. Indeed, Huawei asked this Court to decide a worldwide breach of contract claim and to ban

25 Samsung from seeking SEP injunctions anywhere in the world. Compl. ¶¶ 53-60, Prayer for Relief, E.

26 Although Samsung has filed later, defensive actions in China, Huawei does not allege these foreign
27 actions impact comity. Rather, according to Huawei, the later-filed action impacting comity is the

28 counterclaims Samsung chose to file in this very Court. By filing its counterclaim here, rather than

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 1 in a foreign court, Samsung is doing the opposite of evading the rightful authority of this court.

 2 Huawei provides no authority whatsoever for its apparent contention that a defendant’s decision to

 3 file claims in the same district court and before the same judge where Huawei chose to file its

 4 Complaint could possibly have any bearing on the Court’s comity analysis.

 5          In any event, as stated supra at III, Huawei itself put the dispositive issue of the FRAND

 6 “contractual umbrella” before this Court when it filed its initial Complaint. Order at 10-15. By

 7 doing so, it was Huawei—not Samsung—who first placed its FRAND conduct before the Court.

 8 Thus, it is Huawei’s initial breach of contract claim—and its necessary requirement that Huawei

 9 prove compliance with FRAND—that is dispositive the Shenzhen injunction issue. Samsung’s

10 election to later file its own breach of contract claim on the same issues before the same US district

11 court in no way impacts comity.

12 VI.      HUAWEI’S PURPORTED LEGAL ERROR AMOUNTS TO NOTHING MORE
            THAN REPETITION OF ARGUMENTS EXPRESSLY ARGUED AND REJECTED
13          BY THE COURT
14          Huawei argues that the Order rests on a “manifest legal error” because the Order did not

15 analyze the traditional Winter factors for obtaining a preliminary injunction. Mot. at 6-7. Huawei

16 made precisely this argument in its opposition brief, where it argued a party seeking an antisuit

17 injunction must meet the four traditional factors for preliminary injunctive relief under Winter. See

18 Antisuit Opp Br. at 12 (“An anti-suit injunction is a form of preliminary injunction.”). The Court
19 already considered and rejected this argument and held that Ninth Circuit law provides the three-

20 part Gallo test is sufficient to resolve antisuit motions. Order at 6-7. Motions for Reconsideration

21 should not be used to rehash prior arguments. L.R. 7-9(c) (“Prohibition Against Repetition of

22 Argument” stating that any party who violates this rule “shall be subject to appropriate sanctions”).

23          Moreover, Huawei had an opportunity to challenge the Court’s application of the Gallo test

24 at the hearing and chose not to do so. At the outset of the hearing, the Court stated “[i]t does seem

25 to me that the Gallo test applies,” and, after outlining its application of the three-part test, stated it

26 was “inclined to” grant the Motion. Antitrust Tr. At 3-4. Nowhere in its argument at the hearing
27 did counsel for Huawei challenge or even address the Court’s tentative conclusion that the three-

28 part Gallo test applies and that it need not address additional Winter preliminary injunction factors.

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 1 Antisuit Tr., passim. Having foregone an opportunity to challenge the Court’s reasoning at oral

 2 argument, Huawei cannot be heard now to argue there was a “manifest legal error.” Mot. at 6.

 3          In any event, the Court correctly concluded the Gallo factors are sufficient. In particular, as

 4 explained by the Court, the Ninth Circuit applies the three-part Gallo test to reviews of orders on

 5 antisuit injunctions, including in the Microsoft decision affirming the Western District of

 6 Washington’s antisuit injunction. Order at 7-8. Moreover, at least the Third Circuit has also

 7 “explicitly replaced” the Winter factors with the three-part Gallo test for antisuit injunction. Order

 8 at 7; see Stonington Partners, Inc. v. Lernout & Hauspie Speech Products N.V., 310 F.3d 118, 128–

 9 29 (3d Cir. 2002). The Supreme Court has never called into question the adequacy of the Gallo test.

10 Huawei is thus mistaken that the Court has committed legal error.

11 VII.     CONCLUSION
12          For the foregoing reasons, Huawei’s motion to alter or amend the Order, or in the alternative

13 for leave to seek reconsideration, should be denied.

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 1 DATED: May 3, 2018                            Respectfully submitted,

 2                                               QUINN EMANUEL URQUHART &
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 3

 4                                         By        /s/ Thomas D. Pease
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 6                                                 Thomas D. Pease
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 7

 8                                                 Attorneys for Samsung Electronics Co., Ltd.,
                                                   Samsung Electronics America, Inc., and Samsung
 9                                                 Research America, Inc.
10                                         ATTESTATION
11         I, Victoria F. Maroulis, am the ECF user whose ID and password are being used to file the
12 above Opposition. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Thomas D. Pease

13 has concurred in the aforementioned filing.

14

15                                                      /s/ Victoria F. Maroulis
16                                                      Victoria F. Maroulis

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